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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND




 Damian Medici                                )
                                              )
 v.                                           )       C.A. No. 17-265-M
                                              )
 Lifespan Corporaton, et al                   )
                                              )




                                      SCHEDULING ORDER

 Pursuant to Rule 16 of the Federal Rules of Civil Procedure, the Court orders as follows:


        1.      Pre-trial Schedule:

                a. All factual discovery shall be completed by: March 14, 2018          ;

                b. Plaintiff shall make its expert witness disclosures as required by F.R.

                  Civ. P.26(a)(2) by April 13, 2018                                 .

                c. Defendant shall make its expert witness disclosures as required by F.R.

                  Civ. P.26(a)(2) by    May 14, 2018                        .

                d. All expert discovery shall be completed by     June 14, 2018              .

                e. Dispositive motions shall be filed by    July 13, 2018       .

        2.      Any expert witness not disclosed by these dates may not be allowed to testify

 unless authorized by the Court. See F.R.Civ.P. 37(c)).
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        3.      The parties shall add any known additional defendants or third-party defendants

 within sixty (60) days of the date of this Order.

 So Ordered




 /s/ John J. McConnell, Jr.
 United States District Judge
 June 15, 2017
